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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                                                               ENTERED
                                                                                                                   03/29/2019
                                                                  §
    In re:                                                        §      Chapter 11
                                                                  §
    GASTAR EXPLORATION INC., et al.,1                             §      Case No. 18-36057 (MI)
                                                                  §
                              Reorganized Debtors.                §      (Jointly Administered)
                                                                  §
                                                                  §      Re: Docket No. 326

                       FINAL DECREE CLOSING THE CHAPTER 11 CASES


             Upon the motion (the “Motion”)2 of the above-captioned Reorganized Debtors for entry of

a Final Decree pursuant to section 350(a) of the Bankruptcy Code and Bankruptcy Rule 3022,

closing the chapter 11 cases; and this Court having jurisdiction over this matter pursuant to 28

U.S.C. § 1334; and that this Court may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in

this district is permissible pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found

that the relief requested in the Motion is in the best interests of the Reorganized Debtors’ estates,

their creditors, and other parties in interest; and this Court having found that the Reorganized

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances and no other notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual bases



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Gastar Exploration Inc. (1640), and Northwest Property Ventures LLC (8685). The location of the
      Debtors’ service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.

2     Capitalized terms used and not otherwise defined herein shall have the meaning ascribed to them in the Motion.
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set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

       1.      The following chapter 11 cases of the Reorganized Debtors are hereby closed;

provided that this Court shall retain jurisdiction as provided in Article XI of the Plan:

                                 Debtor                                      Case No.
         Gastar Exploration Inc.                                             18-36057
         Northwest Property Ventures LLC                                     18-36059

       2.      Entry of this Final Decree is without prejudice to the rights of the Reorganized

Debtors or any party in interest to seek to reopen any of these chapter 11 cases for cause pursuant

to section 350(b) of the Bankruptcy Code.

       3.      The Reorganized Debtors, no later than fourteen (14) days after the date of entry of

the Final Decree, shall file a post-confirmation report for the first quarter of 2019 through the date

of entry of the Final Decree and shall serve a true and correct copy of said statements on the Acting

United States Trustee.

       4.      The Reorganized Debtors, no later than fourteen (14) days after the date of entry of

the Final Decree, shall pay the appropriate sum of quarterly fees due and payable under 28 U.S.C.

§ 1930(a)(6)(A) and (B) by remitting payment to the United States Trustee Payment Center, P.O.

Box 530202, Atlanta, Georgia, 30353-0202, and shall furnish evidence of such payment to the

Acting United States Trustee, 515 Rusk, Suite 3516, Houston, Texas. The payment shall reflect

the Reorganized Debtors’ account numbers and shall be transmitted with a “Chapter 11 Quarterly

Disbursement and Fee Report” available from the Acting United States Trustee. This Court shall

retain jurisdiction to enforce payment of fees assessed under 28 U.S.C. § 1930(a)(6)(A) and (B).
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       5.      The Reorganized Debtors and their agents are authorized to take all actions

necessary to effectuate the relief granted pursuant to this Final Decree in accordance with the

Motion.

       6.      Notwithstanding anything to the contrary, the terms and conditions of this Final

Decree shall be immediately effective and enforceable upon its entry.

       7.      Notwithstanding the relief granted in this Final Decree and any actions taken

pursuant to such relief, nothing in this Final Decree shall be deemed: (a) an admission as to the

amount of, basis for, or validity of any claim against the Debtors or the Reorganized Debtors under

the Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the rights of the

Reorganized Debtors, or any other parties in interest to dispute any claim on any grounds; (c) a

promise or requirement to pay any prepetition claim; (d) an assumption, adoption, or rejection of

any agreement, contract, or lease under section 365 of the Bankruptcy Code; (e) an admission as

to the validity, enforceability, or perfection of any lien on, security interest in, or other

encumbrance on property of the Reorganized Debtors’ estates; (f) a waiver of any claims or causes

of action which may exist against any entity; or (g) a waiver or limitation of the rights of the

Reorganized Debtors, or any other parties in interest under the Bankruptcy Code or any other

applicable law.

       8.      The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Final Decree.


  Signed:
 Dated: __________, 2019
             March 29, 2019
 Houston, Texas                                    MARVIN  ISGUR
                                                       ____________________________________
                                                   UNITED STATES BANKRUPTCY
                                                                    Marvin Isgur JUDGE
                                                             United States Bankruptcy Judge
